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                     Exhibit 21
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                 Arab Bank - New York Branch Transactions
       Summary of Transactions for Identified Individual - Yousef A1 Hayek

                                                               No. of          US Dollar
       Category Name / Beneficiary of Transaction                               Value
                                                            Transactions

  Al-Islah Charitable Society - Ramallah & Al-Bireh              1         $         21,500

  Ahmed Yasine                                                   1                   60,000

   Saleh Shehadeh                                                2                   34,500

   Ismail 11 ani yeh                                             14                 265,100

   Salam Ismail Ilaniyeh                                         10                 208,960

   Ismail Abu Shanab                                             6                   93,472

   Ghazi Hamad                                                   13                 118,986

   Khalecl Mohamad Amin El-Haj                                   13                 147,000

   Jamal Salim (Damouni)                                         3                   13,500

   Lateefah Naji Othman Chawa                                    16                 290,000

   Mehdi Ahaker El Hanbali                                       23                 349,500

   Nada Jamal Mohamad Jayousi                                    36                 600,000

   Khawla Ata Mohamad Elsheikh Omar                              4                   47,000

   Abbas Mohamed A1 Sayed                                         9                  123,000

   Abd A1 Hakeem Ali A1 Manaameh                                  7                  119,435

   Ayman Amwar Ahmad Arafat                                       2                   52,000

   Bahaeddine Saad El Madhoun                                     1                    9,500

   Haleemah Hasan Yasine                                          6                  153,435

   Hiyam Said Suliman Khali 1                                     3                   52,000

   Huda Ahmad Darwazah                                           20                  302,000

   Khaled Ibrahim A1 Quqa                                         2                    8,500

   Khalil Hasan Yasine                                            6                   10,800

   Muhammad Saleh Taha                                            5                    9,870

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                Arab Bank - New York Branch Transactions
      Summary of Transactions for Identified Individual - Yousef A1 Hayek

                                                         No. of          US Dollar
      Category Name / Beneficiary of Transaction
                                                      Transactions        Value

  Mohammad Hasan A1 Chamaa                                 3                  107,000

   Muna Salim Saleh Mansur                                 4                   85,000

   Riyad Husein Abdalla Abu Zayd                           1                   25,000

   Sabha Said Hasan Dar Khali I                            15                  83,500

   Sayed Abu Musameh                                       3                    6,000

   Khaled Ghazi Daoud A1 Masri                             1                         900

   Hanan Saleh Mahmoud Ahmad                               7                   43,000

   Hatem Jabr Abou Haijeh                                  17                 256,500

   Omar A1 Abdul A1                                        4                    5,400

   Hammad Abdul Aziz Mohamad A1 Sharafa                    7                  264,960

   Laekah Asaad Saeed Sabaenah                             3                   36,000

   Karam Marzouk Joudallah                                 5                  156,000

   Mohamed Red wan Ibrahim Yasine                           1                   9,000

   Shaker Hayel Rabah Dababseh                              1                    1,000

   Naelah Khaled Daher                                      1                  20,000

   Tahrir Shaaban Mohamed A1 Sharif                         1                  25,000

   Mohamad Nawfal                                           1                    1,300

   Aqeelah Mahmoud Mohamad A1 Sakani                        1                    1,000

   Dawlat Raj eh Ahmed Shreim                               1                    9,975

   Hi bah Ahmed Ali Ahmed                                   1                        600

   Rabah Hayel Takrouri                                     1                    1,000

                                                          282        $    4,228,193


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